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                                                       UNITED STATES BANKRUPTCY COURT




                            MONTHLY OPERA TING REPORT SUMMARY F-OR MONTH June•


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   CASE NAME:    HouTex Builders LLC
  CASE NUMBER:   18-34658



                                              COMPARATIVE BALANCE SHEETS
ASSETS                                 MONTH              MONTH            MONTH              MONTH            MONTH             MONTH             MONTH            MONTH             MONTH            MONTH                MONTH              MONTH
                                       July               August           September          October          November          December          January          February          March            April                May                June
CURRENT ASSETS
Cash                                           1,264.70       151,451.15       151,918.63         132,707.22       119,290.88        569,101.66        569,101.66       568,126.66        568,126.66           514,614.14         514,614.14          490,075.08
Accounts Receivable, Net
Inventory: Lower of Cost or Market
Prepaid Expenses                                  0.00              0.00               0.00             0.00              0.00              0.00             0.00              0.00             0.00                 0.00               0.00                0.00
Investments
Other
TOTAL CURRENT ASSETS                           1,264.70       151,451.15       151,918.63         132,707.22       119,290.88        569,101.66        569,101.66       568,126.66        568,126.66           514,614.14         514,614.14          490,075.08
PROPERTY, PLANT & EQUIP. @ COST
Less Accumulated Depreciation
NET BOOK VALUE OF PP & E                          0.00              0.00               0.00             0.00              0.00              0.00             0.00              0.00             0.00                 0.00               0.00                0.00
OTHER ASSETS
 1. Tax Deposits
 2. Investments in Subsidiaries
 3. Electric Deposit*                           200.00        200.00        200.00        200.00        200.00                             0.00              0.00             0.00              0.00              0.00                0.00               0.00
 4. Real property*                        3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72                             0.00              0.00             0.00              0.00              0.00                0.00               0.00
TOTAL ASSETS                            $3,139,471.42 $3,289,657.87 $3,290,125.35 $3,270,913.94 $3,257,497.60                      $569,101.66       $569,101.66      $568,126.66       $568,126.66       $514,614.14         $514,614.14        $490,075.08

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        CASE NAME:     HouTex Builders LLC
        CASE NUMBER: 18-34658




                                                                        COMPARATIVE BALANCE SHEETS
LIABILITIES & OWNER'S                        MONTH                MONTH              MONTH            MONTH            MONTH            MONTH            MONTH            MONTH            MONTH            MONTH             MONTH           MONTH              MONTH
EQUITY                                       June                July                August           September        October          November         December         January          February         March            April            May                June
LIABILITIES
POST-PETITION LIABILITIES(MOR-4)                    256,381.92          271,870.96      443,211.19       454,310.08        455,452.40      456,557.87       457,700.19        458,842.51       459,911.13      461,053.45        462,158.92         463,301.24          464,406.71
PRE-PETITION LIABILITIES
 Notes Payable - Secured                       3,139,200.44        3,139,200.44        3,139,200.44     3,139,200.44     3,139,200.44     3,139,200.44     1,272,204.14     1,272,204.14     1,272,204.14     1,272,204.14     1,272,204.14    1,272,204.14        1,272,204.14
 Priority Debt
 Federal Income Tax
 FICA/Withholding
 Unsecured Debt                                  540,340.04          540,340.04          540,340.04       540,340.04       540,340.04       540,340.04       540,340.04       540,340.04       540,340.04       540,340.04       540,340.04      540,340.04          540,340.04
 Other - Option fee                                  500.00              500.00              500.00           500.00           500.00           500.00             0.00             0.00             0.00             0.00             0.00            0.00                0.00
TOTAL PRE-PETITION LIABILITIES                 3,680,040.48        3,680,040.48        3,680,040.48     3,680,040.48     3,680,040.48     3,680,040.48     1,812,544.18     1,812,544.18     1,812,544.18     1,812,544.18     1,812,544.18    1,812,544.18        1,812,544.18
TOTAL LIABILITIES                              3,936,422.40        3,951,911.44        4,123,251.67     4,134,350.56     4,135,492.88     4,136,598.35     2,270,244.37     2,271,386.69     2,272,455.31     2,273,597.63     2,274,703.10    2,275,845.42        2,276,950.89
OWNER'S EQUITY (DEFICIT)
PREFERRED STOCK
COMMON STOCK
ADDITIONAL PAID-IN CAPITAL                      -386,665.48         -386,665.48         -386,665.48      -386,665.48      -386,665.48     -386,665.48       -386,665.48      -386,665.48      -386,665.48     -386,665.48       -386,665.48     -386,665.48         -386,665.48
RETAINED EARNINGS: Filing Date
RETAINED EARNINGS: Post Filing Date             -398,889.99         -425,774.54         -446,928.32      -457,559.73      -477,913.46     -492,435.27     -1,314,477.23    -1,315,619.55    -1,317,663.17    -1,319,947.81    -1,373,423.48    -1,374,565.80      -1,400,210.33
TOTAL OWNER'S EQUITY (NET WORTH)                -785,555.47         -812,440.02         -833,593.80      -844,225.21      -864,578.94     -879,100.75     -1,701,142.71    -1,702,285.03    -1,704,328.65    -1,706,613.29    -1,760,088.96    -1,761,231.28      -1,786,875.81
TOTAL
LIABILITIES &
OWNERS EQUITY                                $3,150,866.93       $3,139,471.42       $3,289,657.87    $3,290,125.35    $3,270,913.94    $3,257,497.60      $569,101.66      $569,101.66      $568,126.66     $566,984.34       $514,614.14     $514,614.14         $490,075.08

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 CASE NAME:     HouTex Builders LLC
 CASE NUMBER:   18-34658

                              SCHEDULE OF POST-PETITION LIABILITIES
                                           MONTH           MONTH           MONTH           MONTH           MONTH              MONTH            MONTH             MONTH             MONTH            MONTH             MONTH           MONTH           MONTH           MONTH
                                          May             June            July            August          September          October          November          December          January          February          March           April           May             June
TRADE ACCOUNTS PAYABLE
TAX PAYABLE
 Federal Payroll Taxes
 State Payroll Taxes
 Ad Valorem Taxes
 Other Taxes
TOTAL TAXES PAYABLE                                0.00            0.00            0.00            0.00               0.00             0.00              0.00              0.00             0.00              0.00            0.00            0.00            0.00            0.00
SECURED DEBT POST-PETITION
ACCRUED INTEREST PAYABLE
ACCRUED PROFESSIONAL FEES*
OTHER ACCRUED LIABILITIES
 1. Accrued interest on DIP Financing         2,576.62    3,176.17    3,838.65    4,882.38    5,981.27    7,123.59    8,229.06    9,371.38   10,513.70   11,582.32   12,724.64   13,830.11   14,972.43   16,077.90
 2. Dip financing                           243,151.35  243,151.35  268,032.31  438,328.81  448,328.81  448,328.81  448,328.81  448,328.81  448,328.81  448,328.81  448,328.81  448,328.81  448,328.81  448,328.81
 3. Insurance payable                        11,376.45   10,054.40        0.00        0.00        0.00        0.00        0.00        0.00        0.00        0.00        0.00        0.00        0.00        0.00
TOTAL POST-PETITION LIABILITIES (MOR-3)   $257,104.42 $256,381.92 $271,870.96 $443,211.19 $454,310.08 $455,452.40 $456,557.87 $457,700.19 $458,842.51 $459,911.13 $461,053.45 $462,158.92 $463,301.24 $464,406.71
  *Payment requires Court Approval
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CASE NAME:     HouTex Builders LLC
CASE NUMBER:   18-34658

                                                           AGING OF POST-PETITION LIABILITIES
                                                           MONTH                May

    DAYS               TOTAL                 TRADE               FEDERAL               STATE            AD VALOREM,      Other
                                            ACCOUNTS              TAXES                TAXES            OTHER TAXES
0-30                         1,105.47                                                                                         1,105.47
31-60                        1,142.32                                                                                         1,142.32
61-90                        1,105.47                                                                                         1,105.47
91+                        461,053.45                                                                                       461,053.45
TOTAL                    $464,406.71               $0.00                   $0.00                $0.00            $0.00    $464,406.71

                                                           AGING OF ACCOUNTS RECEIVABLE



   MONTH

0-30 DAYS
31-60 DAYS
61-90 DAYS
91+ DAYS
TOTAL                           $0.00              $0.00                   $0.00                $0.00            $0.00           $0.00

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         CASE NAME:          HouTex Builders LLC
         CASE NUMBER: 18-34658
                                                                                          STATEMENT OF INCOME (LOSS)
                                                          MONTH                MONTH               MONTH             MONTH           MONTH            MONTH            MONTH          MONTH            MONTH              MONTH              MONTH              MONTH            MONTH              MONTH              FILING TO
                                                          May                  June                July              August          September        October          November     December      January                 February           March              April            May                June             DATE
REVENUES (MOR-1)                                                                                                                                                                     2,400,000.00                                                                                                                       4,975,000.00
TOTAL COST OF REVENUES                                                                                                                                                               2,899,307.97                                                                                                                       5,493,342.75
GROSS PROFIT                                                            0.00               0.00              0.00             0.00             0.00             0.00           0.00   -499,307.97                  0.00              0.00                0.00            0.00                0.00               0.00     -518,342.75
OPERATING EXPENSES:
   Selling & Marketing                                                    -12,000.00                                                                                                                                                                                                                                         -12,000.00
   General & Administrative                                      1,275.33   2,603.10                      1,415.73       1,602.78            962.32       1,875.41        1,215.18            212.00                                                                                                                          78,865.93
   Insiders Compensation                                                                                                                                                                                                                                                                                                           0.00
   Professional Fees                                                                                                                                      7,757.50                        55,186.00                                                                  51,375.57                                               119,278.82
   Insurance                                                     2,138.41            2,138.41         -1,049.62                           -455.89                         3,467.63                                                                                    1,161.95                                                19,143.57
   Trustee fees                                                                                          975.00                                             975.00                                                                  975.00                              975.00                                                 6,175.00
TOTAL OPERATING EXPENSES                                        3,413.74           -7,258.49           1,341.11          1,602.78          506.43        10,607.91         4,682.81       55,398.00                0.00             975.00               0.00        53,512.52               0.00               0.00         211,463.32
INCOME BEFORE INT, DEPR/TAX (MOR-1)                            -3,413.74            7,258.49          -1,341.11         -1,602.78         -506.43       -10,607.91        -4,682.81     -554,705.97                0.00            -975.00               0.00       -53,512.52               0.00               0.00        -729,806.07
INTEREST EXPENSE                                               41,398.00           10,004.89          25,543.44         19,551.00       10,124.98         9,745.82         9,839.00      267,335.99            1,142.32           1,068.62           1,142.32         1,105.47           1,142.32          25,644.53         670,404.26
DEPRECIATION                                                                                                                                                                                                                                                                                                                       0.00
OTHER (INCOME) EXPENSE*                                                                                                                                                                                                                                                                                                            0.00
OTHER ITEMS**                                                                                                                                                                                                                                                                                                                      0.00
TOTAL INT, DEPR & OTHER ITEMS                                  41,398.00           10,004.89          25,543.44         19,551.00       10,124.98         9,745.82         9,839.00      267,335.99         1,142.32            1,068.62          1,142.32            1,105.47          1,142.32        25,644.53            670,404.26
NET INCOME BEFORE TAXES                                       -44,811.74           -2,746.40         -26,884.55        -21,153.78      -10,631.41       -20,353.73       -14,521.81     -822,041.96        -1,142.32           -2,043.62         -1,142.32          -54,617.99         -1,142.32       -25,644.53         -1,400,210.33
FEDERAL INCOME TAXES                                                                                                                                                                                                                                                                                                               0.00
NET INCOME (LOSS) (MOR-1)                                  ($44,811.74) ($2,746.40) ($26,884.55) ($21,153.78) ($10,631.41) ($20,353.73) ($14,521.81) ($822,041.96)                                       ($1,142.32)         ($2,043.62)       ($1,142.32)        ($54,617.99)     ($1,142.32)        ($25,644.53)      ($1,400,210.33)
Accrual Accounting Required, Otherwise Footnote with Explanation.
* Footnote Mandatory.
* * Unusual and/or infrequent item(s) outside the ordinary course of business requires footnote.
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  CASE NAME:        HouTex Builders LLC
 CASE NUMBER:       18-34658

CASH RECEIPTS AND                                             MONTH          MONTH           MONTH             MONTH             MONTH                 MONTH             MONTH              MONTH            MONTH               MONTH          MONTH               MONTH          MONTH              FILING TO
DISBURSEMENTS                                                 June           July            August            September         October               November          December           January          February            March          April               May            June               DATE
 1. CASH-BEGINNING OF MONTH                                     $4,485.92      $3,655.43         $1,264.70      $151,451.15        $151,918.63          $132,707.22       $119,290.88        $569,101.66      $569,101.66         $568,126.66    $568,126.66        $514,614.14     $514,614.14                   $0.00
RECEIPTS:
 2. CASH SALES                                                                                                                                                                                                                                                                                                   0.00
 3. COLLECTION OF ACCOUNTS RECEIVABLE                                                                                                                                                                                                                                                                            0.00
 4. LOANS & ADVANCES (attach list)***                                           24,880.96       170,296.50          10,000.00                                                                                                                                                                              448,328.81
 5. SALE OF ASSETS                                                                                                                                                          505,120.28                                                                                                                     654,906.78
 6. OTHER (attach list)****                                      12,500.00                                                                                                                                                                                                                                  14,788.92
TOTAL RECEIPTS**                                                 12,500.00      24,880.96       170,296.50          10,000.00                0.00                 0.00      505,120.28                0.00                0.00           0.00                0.00           0.00               0.00      1,118,024.51
(Withdrawal) Contribution by Individual Debtor MFR-2*                                                                                                                                                                                                                                                            0.00
DISBURSEMENTS:
 7. NET PAYROLL                                                                                                                                                                                                                                                                                                  0.00
 8. PAYROLL TAXES PAID                                                                                                                                                                                                                                                                                           0.00
 9. SALES, USE & OTHER TAXES PAID                                                                                                                                                                                                                                                                               50.00
10. SECURED/RENTAL/LEASES                                                                                                                                                                                                                                                                                        0.00
11. UTILITIES & TELEPHONE                                           798.10          531.73         1,440.78             567.37             927.41             289.32             111.50                                                                                                                      8,957.10
12. INSURANCE                                                     1,322.05                                             -455.89                              3,467.63                                                                                     1,161.95                                           21,675.39
13. INVENTORY PURCHASES                                                                                                                                                                                                                                                                                          0.00
14. INTEREST EXPENSES                                             9,405.34      24,880.96         18,507.27           9,026.09          8,603.50            8,733.53                                                                                                                      24,539.06        404,285.69
15. TRAVEL & ENTERTAINMENT                                                                                                                                                                                                                                                                                       0.00
16. REPAIRS, MAINTENANCE & SUPPLIES                               1,805.00          875.00            150.00            300.00             948.00              925.86               12.00                                                                                                                   67,132.48
17. ADMINISTRATIVE & SELLING                                                          9.00             12.00             94.95                                                                                                                                                                                 394.95
18. OTHER (attach list)                                                                                                                                                                                                                                                                                          0.00
TOTAL DISBURSEMENTS FROM OPERATIONS                              13,330.49      26,296.69         20,110.05           9,532.52         10,478.91           13,416.34            123.50                0.00                0.00           0.00            1,161.95           0.00          24,539.06        502,495.61
19. PROFESSIONAL FEES                                                                                                                   7,757.50                             55,186.00                                                                  51,375.57                                          119,278.82
20. U.S. TRUSTEE FEES                                                               975.00                                                975.00                                                                        975.00                             975.00                                            6,175.00
21. OTHER REORGANIZATION EXPENSES (attach list)                                                                                                                                                                                                                                                                  0.00
TOTAL DISBURSEMENTS**                                            13,330.49 27,271.69   20,110.05    9,532.52   19,211.41   13,416.34   55,309.50        0.00      975.00        0.00   53,512.52        0.00   24,539.06                                                                                   627,949.43
22. NET CASH FLOW                                                  -830.49 -2,390.73  150,186.45      467.48  -19,211.41  -13,416.34  449,810.78        0.00     -975.00        0.00  -53,512.52        0.00  -24,539.06                                                                                   490,075.08
23. CASH - END OF MONTH (MOR-2)                                 $3,655.43 $1,264.70 $151,451.15 $151,918.63 $132,707.22 $119,290.88 $569,101.66 $569,101.66 $568,126.66 $568,126.66 $514,614.14 $514,614.14 $490,075.08                                                                                  $490,075.08
                                                         * Applies to Individual debtors only
              MOR-7                                      **Numbers for the current month should balance (match)
                                                        *** Advance from Charles Foster
                                                        **** January - Refund from construction vendor on home sold in prior month
                                                        **** May - Refund of prepaid insurance
                                                        **** June - 12,000 return of escrow from sale of asset prior to bankrupty and 500 option fee
                                                            RECEIPTS and CHECKS/OTHER DISBURSEMENTS lines on MOR-8
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      CASE NAME:     HouTex Builders LLC
      CASE NUMBER:   18-34658

                                                CASH ACCOUNT RECONCILIATION
                                                 MONTH OF June
BANK NAME                       Frost Bank
ACCOUNT NUMBER                  #*****6345              #                                    #
ACCOUNT TYPE                           OPERATING                           PAYROLL               TAX           OTHER FUNDS      TOTAL
BANK BALANCE                                 514,614.14                                                                          $514,614.14
DEPOSITS IN TRANSIT                                                                                                                    $0.00
OUTSTANDING CHECKS                            24,539.06                                                                           $24,539.06
ADJUSTED BANK BALANCE                      $490,075.08                               $0.00             $0.00            $0.00    $490,075.08
BEGINNING CASH - PER BOOKS                   514,614.14                                                                          $514,614.14
RECEIPTS*                                                                                                                              $0.00
TRANSFERS BETWEEN ACCOUNTS                                                                                                             $0.00
(WITHDRAWAL) OR CONTRIBUTION BY
INDIVIDUAL        DEBTOR MFR-2                                                                                                         $0.00
CHECKS/OTHER DISBURSEMENTS*                             24,539.06                                                                 $24,539.06
ENDING CASH - PER BOOKS                              $490,075.08                     $0.00             $0.00            $0.00    $490,075.08

MOR-8                                      *Numbers should balance (match) TOTAL RECEIPTS and
                                            TOTAL DISBURSEMENTS lines on MOR-7
                                                                     Case 18-34658 Document 544 Filed in TXSB on 07/28/20 Page 9 of 9



CASE NAME:        HouTex Builders LLC
CASE NUMBER:      18-34658


                                    PAYMENTS TO INSIDERS AND PROFESSIONALS
Of the total disbursements shown for the month, list the amount paid to insiders (as defined in Section 101(31)(A)-(F) of the U.S. Bankruptcy Code) and the professionals.
Also, for insiders, identify the type of compensation paid (e.g., salary, commission, bonus, etc.) (Attach additional pages as necessar
                                                  MONTH       MONTH          MONTH            MONTH            MONTH            MONTH            MONTH            MONTH          MONTH          MONTH         MONTH          MONTH          MONTH           MONTH          MONTH          MONTH
  INSIDERS: NAME/COMP TYPE                       March       April          May              June             July             August           September October                November       December      January        February       March          April           May            June

 1.
 2.
 3.
 4.
 5.
 6.
TOTAL INSIDERS (MOR-1)                              $0.00          $0.00            $0.00            $0.00            $0.00            $0.00            $0.00           $0.00        $0.00           $0.00         $0.00          $0.00         $0.00              $0.00         $0.00           $0.00

                                                  MONTH       MONTH          MONTH            MONTH            MONTH            MONTH            MONTH            MONTH          MONTH          MONTH         MONTH          MONTH          MONTH           MONTH          MONTH          MONTH
         PROFESSIONALS                           March       April          May              June             July             August           September October                November       December      January        February       March          April           May            June

 1. Schmuck, Smith, Tees & Co PC                                2,693.75              0.00             0.00             0.00             0.00             0.00        7,757.50           0.00          0.00           0.00           0.00           0.00       1,953.50            0.00           0.00
 2. Diamond McCarthy LLP                                                                                                                                                                          55,186.00           0.00           0.00           0.00      49,422.07            0.00           0.00
 3.
 4.
 5.
 6.
TOTAL PROFESSIONALS (MOR-1)                         $0.00 $2,693.75                 $0.00            $0.00            $0.00            $0.00            $0.00      $7,757.50         $0.00      $55,186.00         $0.00          $0.00         $0.00      $51,375.57            $0.00           $0.00

    MOR-9
